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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
                                               §
VS.                                            §   CRIMINAL NO. H-10-258-4
                                               §
                                               §
PATRICK LANIER                                 §


                                          ORDER

       To facilitate the deliberations of the jury, the Clerk is ordered to provide a lunch meal

for the jury on February 27, 2014. This order is directed to the Financial Section for

reimbursement to the Clerk providing the meal.

              SIGNED on February 27, 2014 at Houston, Texas.


                                         ______________________________________
                                                      Lee H. Rosenthal
                                                 United States District Judge
